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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                               June 2023 Grand Jury

11   UNITED STATES OF AMERICA,               No. 2:24-cr-00091-ODW
12             Plaintiff,                    I N D I C T M E N T
13                   v.                      [18 U.S.C. § 1001: false
                                             statement; 18 U.S.C. § 1519:
14   ALEXANDER SMIRNOV,                      creating a false and fictitious
                                             record]
15             Defendant.
16

17
          The Grand Jury charges:
18
                                INTRODUCTORY ALLEGATIONS
19
          1.    Defendant ALEXANDER SMIRNOV was a resident of Los Angeles,
20
     California in 2020.
21
       A. The Defendant was an FBI Confidential Human Source.
22
          2.    The Defendant was a confidential human source (“CHS”) with
23
     the Federal Bureau of Investigation (“FBI”).         As a CHS, the Defendant
24
     was assigned a handling agent (hereafter “the Handler”) who was a
25
     special agent on an FBI squad that investigated violations of federal
26
     criminal law.
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 1          3.        As a CHS, the Defendant provided information to the Handler

 2   that was then used in various criminal investigations conducted by the

 3   FBI.     The Defendant knew that information he provided was used in

 4   criminal investigations because, among other reasons, the Handler

 5   advised him that he might have to testify in court based on the

 6   information he provided on multiple occasions, including, but not

 7   limited to: 10/1/2010, 5/17/2011, 11/28/2012, 04/12/2013, 8/29/2013,

 8   7/10/2015 and 3/11/2020.               The Defendant also knew the information he

 9   provided was used in criminal investigations because the Defendant

10   participated in a number of operations where he was authorized to

11   engage      in     criminal     activity    as        part       of   an   on-going     criminal

12   investigation.

13          4.        The Defendant was admonished by the Handler that he must

14   provide truthful information to the FBI when he first became a CHS in

15   2010 and on multiple occasions thereafter, including, but not limited

16   to: 10/1/2010, 1/20/2011, 5/17/2011, 9/14/2011, 8/29/2012, 11/28/2012,

17   4/12/2013,         8/29/2013,    1/22/2014,          7/9/2014,        7/10/2015,      9/29/2016,

18   9/26/2017,        9/26/2018,     9/27/2019,      3/11/2020,           2/19/2021,   10/28/2021,

19   10/17/2022 and 9/29/2023.

20          5.        In addition, when the Defendant was authorized to engage in

21   illegal activity for investigative purposes, he was further admonished

22   that: “Under no circumstances may the CHS … Participate in an act that

23   constitutes obstruction of justice (e.g., perjury, witness tampering,

24   witness      intimidation,       entrapment,         or     fabrication,      alteration,     or

25   destruction        of   evidence,       unless       such    illegal       activity    has   been

26   authorized).”           When the Defendant was given this admonishment, he

27   signed      an    FBI   form    that    contained         this    statement,     including    on

28   10/8/2014, 1/18/2017, 10/8/2018, 1/10/2019, and 8/7/2020.
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 1         6.      Despite repeated admonishments that he must provide truthful

 2   information to the FBI and that he must not fabricate evidence, the

 3   Defendant provided false derogatory information to the FBI about Public

 4   Official 1, an elected official in the Obama-Biden Administration who

 5   left office in January 2017, and Businessperson 1, the son of Public

 6   Official 1, in 2020, after Public Official 1 became a candidate for

 7   President of the United States of America.

 8                 a.    As described in greater detail below, in March 2017,

 9   the Defendant reported to the Handler that he had had a phone call with

10   the   owner    of   Ukrainian   industrial   conglomerate   Burisma   Holdings,

11   Limited (hereafter “Burisma Official 1”) concerning Burisma’s interest

12   in acquiring a U.S. company and making an initial public offering

13   (“IPO”) on a U.S.-based stock exchange.        In reporting that conversation

14   to the Handler, the Defendant also noted that Businessperson 1, Public

15   Official 1’s son, was a member of Burisma’s Board, a fact that was

16   publicly known.

17                 b.    Three years later, in June 2020, the Defendant reported,

18   for the first time, two meetings in 2015 and/or 2016, during the Obama-

19   Biden Administration, in which he claimed executives associated with

20   Burisma, including Burisma Official 1, admitted to him that they hired

21   Businessperson 1 to “protect us, through his dad, from all kinds of

22   problems,” and later that they had specifically paid $5 million each

23   to Public Official 1 and Businessperson 1, when Public Official 1 was

24   still in office, so that “[Businessperson 1] will take care of all

25   those issues through his dad,” referring to a criminal investigation

26   being conducted by the then-Ukrainian Prosecutor General into Burisma

27   and to “deal with [the then-Ukrainian Prosecutor General].”

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 1               c.    The Defendant also reported two purported phone calls

 2   between himself and Burisma Official 1 wherein Burisma Official 1

 3   stated    that   he    had   been    forced   to    pay   Public   Official    1   and

 4   Businessperson 1 and that it would take investigators 10 years to find

 5   records of illicit payments to Public Official 1.

 6               d.    As   alleged      herein,   the   events   the   Defendant   first

 7   reported to the Handler in June 2020 were fabrications.               In truth and

 8   fact, the Defendant had contact with executives from Burisma in 2017,

 9   after the end of the Obama-Biden Administration and after the then-

10   Ukrainian Prosecutor General had been fired in February 2016, in other

11   words, when Public Official 1 had no ability to influence U.S. policy

12   and when the Prosecutor General was no longer in office.                 In short,

13   the Defendant transformed his routine and unextraordinary business

14   contacts with Burisma in 2017 and later into bribery allegations

15   against Public Official 1, the presumptive nominee of one of the two

16   major political parties for President, after expressing bias against

17   Public Official 1 and his candidacy.

18               e.    When he was interviewed by FBI agents in September 2023,

19   the Defendant repeated some of his false claims, changed his story as

20   to other of his claims, and promoted a new false narrative after he

21   said he met with Russian officials.

22     B. In 2017, the Defendant provided the FBI Handler with information

23        that Burisma was interested in acquiring an American oil and gas
24        company.
25        7.     On or about March 1, 2017, the Defendant provided information
26   to the Handler concerning Burisma for the first time.              That information
27   was memorialized in an official record of the FBI on a Form 1023
28   (hereafter the “2017 1023”).           The following is the entirety of what
                                               4
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 1   the Defendant told the Handler in March 2017 that was memorialized in

 2   the 2017 1023:

 3        During the week of 2/27/2017, CHS received a telephone call
          from [Associate 1] (a subject of prior CHS reporting
 4        regarding ties to ROC). Also on the call was [Burisma
          Official 1], whom CHS understood is the “CEO or owner” of
 5
          Burisma Holdings - Ukraine. During the call, [Associate 1]
 6        mentioned they are interested in acquiring a U.S.-based
          petroleum business with a market capitalization between $50-
 7        $100 million. They would then use this US-based entity as
          the parent company for Burisma Holdings (or a subdivision
 8        thereof), which they would then seek to register on a US
          exchange.
 9

10        This CEO and [Associate 1] made statements that led CHS to
          believe that Burisma Holdings has overstated its corporate
11        assets in various public filings in Ukraine (NFI).

12        The individual in Ukraine who is currently assigned to manage
          this acquisition is [Burisma Official 2], whose title is
13        “Board Advisor - Director for International Cooperation and
14        Strategic Development”, email [] @burisma.com, 10-A Ryleyeva
          Str., Kyiv 04073, Ukraine, office phone [], fax: []. During
15        the week of March 6, 2017, [Burisma Official 2] plans to
          travel to Washington D.C. (NFI), and may meet with the CHS
16        sometime thereafter on the West Coast.
17        During this call, there was a brief, non-relevant discussion
          about [Public Official 1]'s son, [Businessperson 1], who is
18
          currently on the Board of Directors for Burisma Holdings [No
19        Further Information].

20   (emphasis added).    Notably, the Defendant did not report in 2017 that

21   in the preceding two years, Burisma Official 1 admitted to the Defendant

22   that he had paid Public Official 1 $5 million when Public Official 1

23   was still in office, as the Defendant later claimed.

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 1     C. Three years later, in May 2020, the Defendant sent the Handler a

 2        series of messages expressing bias against Public Official 1, who

 3        was then a candidate for President of the United States of America
 4        and the presumptive nominee of one of the two major political
 5        parties.
 6
          8.      On May 19, 2020, the Defendant messaged the Handler the
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     following:
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19        9.      On that day, May 19, 2020, it was publicly reported that:

20        A Ukrainian lawmaker who met with [] late last year released
          recordings of private phone calls several years ago between
21        [Public Official 1] and [], then Ukraine’s president, in a
          new broadside against the presumptive [] nominee for U.S.
22        president   that   has  raised   questions   about   foreign
          interference in the 2020 election.
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 1        10.   Approximately 20 minutes after his first message on May 19,

 2   2020, the Defendant volunteered his view that:

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          11.   One minute later, the Defendant opined:
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     Case 2:24-cr-00091-ODW Document 1 Filed 02/14/24 Page 8 of 37 Page ID #:8



 1       12.   To which the Handler responded:

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11       13.   The Defendant offered the following:
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18       14.   To which the Handler responded:
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      Case 2:24-cr-00091-ODW Document 1 Filed 02/14/24 Page 9 of 37 Page ID #:9



 1        15.   The Defendant then further offered the following:

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          16.   To which the Handler responded:
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          17.   The Defendant then stated:
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     The Defendant did not indicate who “the guys” were.
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                       [this space intentionally left blank]
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 1        18.   The following day, May 20, 2020, the Defendant messaged the

 2   Handler a link to an article titled, “Senate Republicans issue first

 3   subpoena in [Public Official 1]-Burisma probe”:

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 5
                                                    Public Official 1

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12        19.   The Handler did not respond.

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19                     [this space intentionally left blank]

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     Case 2:24-cr-00091-ODW Document 1 Filed 02/14/24 Page 11 of 37 Page ID #:11



 1        20.   The next day, May 21, 2020, the Defendant messaged the

 2   Handler the following:

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 1        21.   Less than thirty minutes later, the Defendant messaged the

 2   Handler the following:

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 1   Contrary to the Defendant’s representation, this was not, in fact, a

 2   photograph of Public Official 1 and Businessperson 1 with the CEO of

 3   Burisma.

 4     D. One month later, and three years after first reporting on Burisma,

 5        the Defendant reported bribery allegations against Businessperson
 6        1 and Public Official 1.
 7        22.   In June 2020, the Handler reached out to the Defendant
 8   concerning the 2017 1023.      This was done at the request of the FBI’s
 9   Pittsburgh Field Office (hereafter “FBI Pittsburgh”).            In the first
10   half of 2020, the United States Attorney’s Office for the Western
11   District of Pennsylvania (hereafter “USAO WDPA”) had been tasked by
12   the Deputy Attorney General of the United States to assist in the
13   “receipt, processing, and preliminary analysis of new information
14   provided by the public that may be relevant to matters relating to
15   Ukraine.” As part of that process, FBI Pittsburgh opened an assessment,
16   58A-PG-3250958, and in the course of that assessment identified the
17   2017 1023 in FBI holdings and shared it with USAO WDPA.         USAO WDPA then
18   asked FBI Pittsburgh to reach out to the Handler to ask for any further
19   information about the reference in his 2017 1023 that stated, “During
20   this call, there was a brief, non-relevant discussion about former
21   [Public Official 1]'s son, [Businessperson 1], who is currently on the
22   Board of Directors for Burisma Holdings [No Further Information]”.
23        23.   On or about June 26, 2020, FBI Pittsburgh contacted the
24   Handler regarding the 2017 1023.      That same day, the Handler spoke with
25   the Defendant, who was in Los Angeles, by telephone.           The information
26   the Defendant provided the Handler was memorialized on a Form 1023
27   (hereafter the “2020 1023”), an official record of the FBI, which was
28   finalized on June 30, 2020.
                                           13
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 1        24.   During their call on June 26, 2020, when the Handler asked

 2   the Defendant about the “brief, non-relevant discussion about former

 3   [Public Official 1]'s son, [Businessperson 1], who is currently on the

 4   Board of Directors for Burisma Holdings,” the Defendant described, for

 5   the first time, two purported meetings and two purported phone calls

 6   with various Burisma executives where Businessperson 1 and Public

 7   Official 1 were discussed.       The two phone calls were in addition to

 8   the one the Defendant reported on in the 2017 1023.         This time, rather

 9   than a passing reference to Businessperson 1 being on Burisma’s Board,

10   the Defendant claimed that Burisma executives at two meetings in 2015

11   and/or 2016, during the Obama-Biden Administration, told him that they

12   were paying Businessperson 1 to “protect us, through his dad, from all

13   kinds of problems,” and later that they had specifically paid $5 million

14   each to Public Official 1, when he was in office, and Businessperson 1

15   so that “[Businessperson 1] will take care of all those issues through

16   his dad,” referring to a criminal investigation being conducted by the

17   then-Ukrainian Prosecutor General into Burisma and to “deal with” the

18   then-Ukrainian Prosecutor General.         In describing the phone calls, the

19   Defendant claimed that Burisma Official 1 said he was “pushed to pay”

20   Public   Official   1   and   Businessperson    1,   had   text   messages    and

21   recordings that show he was coerced to make such payments, and it would

22   take investigators ten years to find the records of illicit payments

23   to Public Official 1.         The Defendant made these statements to the

24   Handler in June 2020, when Public Official 1 was a candidate for

25   President of the United States and the presumptive nominee of one of

26   the two major political parties.

27        25.   Critically, the payments the Defendant described occurred,

28   according to the Defendant, during the Obama-Biden Administration in
                                           14
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 1   2016, when Public Official 1 was in a position to influence U.S. policy

 2   towards Ukraine, and prior to February 2016 when the then-Ukrainian

 3   Prosecutor General was fired and, in any event, prior to the change in

 4   Administrations in January 2017.

 5        26.   Specifically, the Defendant claimed the following about the

 6   first and second meetings:

 7        First Meeting with Burisma Executives in Kyiv, Ukraine
          2015/2016. In late 2015 or 2016, during the Obama/Biden
 8        administration, CHS was first introduced to officials at
          Ukraine natural gas business Burisma Holdings (“Burisma”)
 9
          through   CHS's   associate,   [Associate   1]   (alternate
10        transliteration - [Associate 1]; for full identification of
          [Associate 1], see attachments to [], a FD-1023 by CHS
11        serialized on 1/2/2018).

12        CHS and [Associate 1] traveled to Ukraine and went to
          Burisma's office that was located 20 minutes away from the
13        City Center. The purpose of the meeting was to discuss
14        Burisma's interest in purchasing a US-based oil and gas
          business, for purposes of merging it with Burisma for
15        purposes of conducting an IPO in the US. Burisma was willing
          to purchase a US-based entity for $20-30 million.
16
          At this meeting was CHS, CHS's former business partner,
17        [Associate 2] (an USPER who does not speak Russian),
18        [Associate 1], Burisma's CFO, [Burisma Official 2] (email
          []@Burisma.com, telephone []), [Burisma Official 3] (the
19        daughter to Burisma's CEO and founder [Burisma Official 1)
          and her husband (FNU LNU). The conversation was in Russian,
20        and thus [Associate 2] did not participate therein.
21        During the meeting, [Burisma Official 2] asked CHS whether
          CHS was aware of Burisma's Board of Directors. CHS replied
22
          "no", and [Burisma Official 2] advised the board members
23        included: 1) the former President or Prime Minister of
          Poland; and, 2) [Public Official 1]'s son, [Businessperson
24        1]. [Burisma Official 2] said Burisma hired the former
          President or Prime Minister of Poland to leverage his
25        contacts in Europe for prospective oil and gas deals, and
          they hired [Businessperson 1] to “protect us, through his
26
          dad, from all kinds of problems” (CHS was certain [Burisma
27        Official 2] provided no further/specific details about what
          that meant).
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 1        CHS asked why they (Burisma) needed to get CHS's assistance
          regarding the purchase/merger of a US-based company when
 2        [Businessperson 1] was on their board. [Burisma Official 2]
          replied that [Businessperson 1] was not smart, and they
 3
          wanted to get additional counsel. The group then had a general
 4        conversation about whether the purchase/merger with a US
          company would be a good business decision.
 5
          Meeting with CHS, [Associate 1], and [Burisma Official 1] in
 6        Vienna, Austria in 2016. Approximately one or two months
          after the aforementioned Burisma meeting in Ukraine, CHS
 7        traveled to Vienna, Austria with [Associate 1] and met with
 8        [Burisma Official 1] at an outside coffee shop. The trio
          continued to talk about the feasibility of Burisma acquiring
 9        a US-based entity. CHS recalled this meeting took place
          around the time [Public Official 1] made a public statement
10        about [the then-Ukrainian Prosecutor General] being corrupt,
          and that he should be fired/removed from office. CHS told
11        [Burisma Official 1] that due to [the then-Ukrainian
12        Prosecutor General]'s investigation into Burisma, which was
          made public at this time, it would have a substantial
13        negative impact on Burisma's prospective IPO in the United
          States. [Burisma Official 1] replied something to the effect
14        of, “Don't worry [Businessperson 1] will take care of all of
          those issues through his dad.” CHS did not ask any further
15        questions about what that specifically meant.
16
          CHS asked [Burisma Official 1] why Burisma would pay $20-30
17        million to buy a US company for IPO purposes when it would
          be cheaper to just form a new US-entity, or purchase a
18        corporate shell that was already listed on an exchange.
          [Burisma Official 1] responded that [Businessperson 1]
19        advised Burisma it could raise much more capital if Burisma
          purchased a larger US-based business that already had a
20
          history in the US oil and gas sector. CHS recalled [Burisma
21        Official 1] mentioned some US-based gas business(es) in
          Texas, the names of which CHS did not recall. CHS advised
22        [Burisma Official 1] it would be problematic to raise capital
          in the US given [the then-Ukrainian Prosecutor General]'s
23        investigation into Burisma as nobody in the US would invest
          in a company that was the subject of a criminal
24        investigation. CHS suggested it would best if Burisma simply
25        litigate the matter in Ukraine, and pay some attorney
          $50,000. [Burisma Official 1] said he/Burisma would likely
26        lose the trial because he could not show that Burisma was
          innocent; [Burisma Official 1] also laughed at CHS's number
27        of $50,000 (not because of the small amount, but because the
          number contained a "5") and said that “it cost 5 (million)
28        to   pay   [Public  Official    1],  and   5   (million)   to
                                           16
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 1        [Businessperson 1].” CHS noted that at this time, it was
          unclear to CHS whether these alleged payments were already
 2        made.
 3
          CHS told [Burisma Official 1] that any such payments to
 4        [Public Official 1 and Businessperson 1] would complicate
          matters, and Burisma should hire “some normal US oil and gas
 5        advisors” because [Public Official 1 and Businessperson 1]
          have no experience with that business sector.        [Burisma
 6        Official 1] made some comment that although [Businessperson
          1] “was stupid, and his ([Burisma Official 1]'s) dog was
 7        smarter,” [Burisma Official 1] needed to keep [Businessperson
 8        1] (on the board) “so everything will be okay.” CHS inquired
          whether [Businessperson 1] or [Public Official 1] told
 9        [Burisma Official 1] he should retain [Businessperson 1];
          [Burisma Official 1] replied, “They both did.” CHS reiterated
10        CHS's opinion that [Burisma Official 1] was making a mistake
          and he should fire [Businessperson 1] and deal with [the
11        then-Ukrainian Prosecutor General]'s investigation directly
12        so that the matter will remain an issue in Ukraine, and not
          turn in to some international matter. [Burisma Official 1]
13        responded something to the effect of, “Don't worry, this
          thing will go away anyway.” CHS replied that, notwithstanding
14        [the then-Ukrainian Prosecutor General]'s investigation, it
          was still a bad decision for Burisma to spend $20-$30 million
15        to buy a US business, and that CHS didn't want to be involved
          with the [Public Official 1 and Businessperson 1] matter.
16
          [Burisma Official 1] responded that he appreciated CHS's
17        advice, but that “it's too late to change his decision.” CHS
          understood this to mean that [Burisma Official 1] had already
18        had [sic.] paid [Public Official 1 and Businessperson 1],
          presumably to “deal with [the then-Ukrainian Prosecutor
19        General].”
20
     (emphases added).
21
       E. The Defendant’s 2020 story was a fabrication.
22
          27.   The Defendant’s claim that “in late 2015/2016 during the
23
     Obama/Biden Administration” he first met with Burisma Official 2 and
24
     that at that meeting Burisma Official 2 told him that they hired
25
     Businessperson 1 to “protect us, through his dad, from all kinds of
26
     problems” was false, as he knew.
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 1           28.   Similarly, the Defendant’s claims that he met with Burisma

 2   Official 1 “one or two months later,” around the time “[Public Official

 3   1]    made    a    public   statement   about     [the   then-Ukrainian   Prosecutor

 4   General] being corrupt, and that he should be fired/removed from

 5   office,” which occurred on December 9, 2015, and that at that meeting

 6   Burisma Official 1 admitted that he had paid Businessperson 1 $5 million

 7   and Public Official 1 $5 million each so that “[Businessperson 1] will

 8   take care of all those issues through his dad,” referring to the then-

 9   Ukrainian Prosecutor General’s investigation into Burisma, and to “deal

10   with [the then-Ukrainian Prosecutor General],” were false, as the

11   Defendant knew.

12           29.   No such statements were made to the Defendant because, in

13   truth and fact, Defendant met with officials from Burisma for the first

14   time in 2017, after Public Official 1 left office in January 2017, and

15   after the then-Ukrainian Prosecutor General had been fired in February

16   2016.    The first meeting the Defendant had with officials from Burisma

17   occurred at a time when Public Official 1 no longer had the ability to

18   influence U.S. policy and after the then-Ukrainian Prosecutor General

19   was out of office.          The Defendant’s story to the FBI was a fabrication,

20   an amalgam of otherwise unremarkable business meetings and contacts

21   that had actually occurred but at a later date than he claimed and for

22   the   purpose      of   pitching   Burisma   on    the   Defendant’s   services   and

23   products, not for discussing bribes to Public Official 1 when he was

24   in office.

25           30.   The Defendant began to pursue business opportunities with

26   Burisma in spring 2017, at the earliest, through two associates of his.

27                 a.     Associate 1 was a Ukrainian business consultant.              He

28   was introduced to the Defendant by a mutual acquaintance who told
                                               18
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 1   Associate 1 that the Defendant was an expert in IPOs in the United

 2   States.      The Defendant and Associate 1 subsequently met in Kiev,

 3   Ukraine,    and    the   Defendant    asked    Associate     1   to    connect   him   to

 4   businesses    in    Ukraine    interested      in   IPOs   in    the   United    States.

 5   Associate 1 subsequently identified Burisma as such a company.

 6                b.     Associate 2 was an American who owned a cryptocurrency

 7   business.     In the spring of 2017, the Defendant presented Burisma to

 8   Associate 2 as a company that might be interested in a cryptocurrency

 9   product Associate 2 was trying to commercialize.                   Around this time,

10   the Defendant sent Associate 2 a link to the Board of Directors of

11   Burisma.      The    Defendant      specifically     called      out   the   fact   that

12   Businessperson       1   was   on   the   Board     and    indicated     that    because

13   Businessperson 1 was on the Board, the Defendant thought Burisma was a

14   company with which they could do business.

15        31.     Between March 2017, when the Defendant first reported on

16   Burisma to the Handler, and June 2020, when he first made his false

17   claims about bribes paid to Public Official 1 when he was in office,

18   directly and through his son Businessperson 1, the Defendant had a

19   series of routine business contacts with executives at Burisma.                        All

20   of these contacts occurred in 2017 and 2018, when Public Official 1

21   was out of office and after the then-Ukrainian Prosecutor General had

22   been fired.       Specifically:

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 1              a.    The same day that he first reported on Burisma, March

 2   1, 2017, the Defendant messaged the Handler a photograph of a business

 3   card for Burisma Official 2.

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17              b.    In response, on that same day, the Handler asked the

18   Defendant, “How’s [Burisma Official 2] fit into the story”, to which

19   the Defendant responded, “This is the guy that will do the public

20   company from there [sic.] side.”

21              c.    The Handler then messaged the Defendant, “Looks like

22   the CEO or Owner might be [Burisma Official 1] or [].             Either sound

23   familiar?”, to which the Defendant responded with the first name of

24   Burisma Official 1.     The Handler then asked the Defendant whether he

25   was meeting with Burisma Official 1, to which the Defendant responded,

26   “No.   The guy that I send [sic.] you the business card.”

27              d.    On April 13, 2017, the Handler messaged the Defendant

28   asking him, “U know who from Burisma will be in the meeting,” to which

                                           20
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 1   the Defendant responded, “Not yet Will know after we [sic.] I will get

 2   the email.”

 3              e.    Four days later, on April 17, 2017, Associate 1 sent

 4   the Defendant and Burisma Official 2 an email introducing them to each

 5   other.

 6              f.    That same day, Associate 1 sent another email to Burisma

 7   Official 2 summarizing, in general terms, how a company could undertake

 8   an IPO in the United States.

 9              g.    On or about April 27, 2017, Burisma Official 2 responded

10   to Associate 1’s April 17, 2017, email.          Burisma Official 2 thanked

11   Associate 1 for introducing him to the Defendant and promised to send

12   the Defendant and Associate 1 information about Burisma’s desire to

13   buy an oil and gas company in the United States.

14              h.    On or around May 11, 2017, Burisma Official 4, another

15   Burisma executive, emailed Associate 1 telling him that Burisma was

16   not interested in pursuing an IPO in the United States and that their

17   priority was acquiring a U.S.-based oil and gas company.

18              i.    Seven days later, on or about May 18, 2017, Associate 1

19   forwarded Burisma Official 3’s email to the Defendant.

20              j.    On July 24, 2017, the Defendant messaged the Handler,

21   “Cutting a deal with Burisma     Will update you soon bro” and “It’s gonna

22   be a contract so we can review it first.”

23              k.    On September 16, 2017, Associate 2, the individual whom

24   the Defendant claimed in the 2020 1023 attended the first meeting the

25   Defendant had with Burisma executives in late 2015 or 2016, flew from

26   New York to Kiev, via London.       Associate 2 remained in Ukraine until

27   September 23, 2017, when he returned to the United States through

28   London.
                                           21
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 1              l.    During the six (6) day period that Associate 2 was in

 2   Ukraine, he and the Defendant met with representatives from Burisma,

 3   including Burisma Official 3, the daughter of Burisma’s owner Burisma

 4   Official 1, to discuss a cryptocurrency product.               The meeting was in

 5   Russian,   and   on   the   drive   back    from   Burisma’s   headquarters,    the

 6   Defendant described to Associate 2 what had been discussed.                     The

 7   Defendant told Associate 2 that the Burisma representatives were not

 8   interested in the cryptocurrency product the Defendant and Associate 2

 9   were selling and were instead trying to find an oil and gas company in

10   the United States that Burisma could purchase.             The Defendant did not

11   describe to Associate 2 any discussion of Businessperson 1 or Public

12   Official 1 during this meeting.

13              m.    On   September     19,    2017,   the   Defendant   messaged   the

14   Handler photographs of business cards for Burisma Official 3, the

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24   person the Defendant claimed he met at the first meeting in late 2015
25   or 2016 during the Obama-Biden Administration, and Burisma Official 4,
26   the individual who had sent an email to Associate 1, which Associate 1
27   then forwarded to the Defendant, in May 2017, as described above.
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                                                22
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 1              n.    After the September 2017 meeting, Associate 2 prepared

 2   a document outlining steps that Burisma could take in order to acquire

 3   a company in the United States and use it for an IPO.         Associate 2 sent

 4   this document to the Defendant on September 22, 2017.

 5              o.    Associate 2’s trip to Kiev in September 2017 was the

 6   first time he had left North America since 2011.           Thus, he could not

 7   have attended a meeting in Kiev, as the Defendant claimed, in late 2015

 8   or 2016, during the Obama-Biden Administration.          His trip to Ukraine

 9   in September 2017 was more than seven months after Public Official 1

10   had left office and more than a year after the then-Ukrainian Prosecutor

11   General had been fired.

12              p.    On January 23, 2018, Associate 2 flew from Los Angeles

13   to London. During the previous week, on January 16, 2018, the Defendant

14   messaged Associate 2 asking him, “Brother Send me the name of the place

15   in London please,” to which Associate 2 replied, “Baglioni.” On January

16   25, 2018, the Defendant attempted to call Associate 2.             Associate 2

17   responded, “Downstairs getting breakfast,” and the Defendant responded,

18   “Cool.   See you in a few.”      Both the Defendant and Associate 2 were

19   staying at the Hotel Baglioni in London at that time.           When Associate

20   2 was with the Defendant in London, the Defendant told Associate 2 that

21   he had received a call from the owner of Burisma, Burisma Official 1,

22   and that Burisma Official 1 was interested in doing business with them.

23              q.    On January 26, 2018, Associate 2 flew from London to

24   Kiev, staying until January 30, 2018.

25              r.    During that five (5) day time period, the Defendant and

26   Associate 2 traveled to Burisma’s headquarters.          Once there, they had

27   a brief meeting with Burisma Official 2, who told them that Burisma

28   was not interested in their cryptocurrency product.          Burisma Official
                                           23
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 1   2 spoke English during the meeting, and Associate 2 was able to

 2   participate.      At no point during this meeting between the Defendant,

 3   Associate 2, and Burisma Official 2 did Burisma Official 2 tell the

 4   Defendant that Burisma had hired Businessperson 1 to “protect us,

 5   through his dad, from all kinds of problems.”

 6           32.   As described above, all the contacts that the Defendant had

 7   with Burisma occurred no earlier than spring 2017, after the end of

 8   the   Obama-Biden      Administration.        Notably,   the   Defendant   was   only

 9   introduced to Burisma Official 2, via email, on or about April 17,

10   2017.     Therefore, the Defendant’s claim that he had met with Burisma

11   Official      2   in    “late   2015     or    2016,     during   the   Obama/Biden

12   administration,” was false because if the Defendant had met Burisma

13   Official 2 then, he would not have needed Associate 1 to introduce him

14   to Burisma Official 2 in April 2017, and Burisma Official 2 would not

15   have thanked Associate 1 for introducing them in April 2017.

16           33.   As to the second meeting, the one that supposedly happened

17   in Vienna, contrary to what the Defendant told the Handler, Associate

18   1 did not meet with the Defendant and Burisma Official 1 at a café in

19   Vienna around the time that Public Official 1 “made a public statement

20   about [the then-Ukrainian Prosecutor General] being corrupt, and that

21   he should be fired/removed from office,” which occurred in December

22   2015.     In fact, Associate 1 has never met or spoken with Burisma

23   Official 1.
24           34.   Further, the Defendant did not travel to Vienna “around the
25   time [Public Official 1] made a public statement about [the then-
26   Ukrainian Prosecutor General] being corrupt, and that he should be
27   fired/removed from office,” which occurred in December 2015.
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                                               24
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 1           35.   When the Handler interviewed the Defendant on June 26, 2020,

 2   the Defendant also falsely told the Handler that he had two phone calls

 3   with Burisma Official 1, one in “2016/2017” shortly after the U.S.

 4   election but before the end of the Obama-Biden Administration and a

 5   second one in 2019.       The following is what the Defendant told the

 6   Handler about those two calls that was also memorialized in the 2020

 7   1023:

 8
             Subsequent Telephone Calls Between CHS and [Burisma Official
 9           1].
10
             2016/2017 Telephone Call. Shortly after the 2016 US election
11           and during [Public Official 2] transition period, CHS
             participated in a conference call with [Associate 1] and
12           [Burisma Official 1]. CHS inquired whether [Burisma Official
             1] was happy with the US election results. [Burisma Official
13           1] replied that he was not happy [Public Official 2] won the
             election. CHS asked [Burisma Official 1] whether he was
14           concerned about Burisma's involvement with [Public Official
15           1 and Businessperson 1]. [Burisma Official 1] stated he
             didn't want to pay the [Public Official 1 and Businessperson
16           1] and he was “pushed to pay” them. (CHS explained the Russian
             term [Burisma Official 1] used to explain the payments was
17           “poluchili” (transliterated by the CHS), which literally
             translates to got it” or “received it”, but is also used in
18           Russian-criminal-slang for being “forced or coerced to pay.”
19           [Burisma Official 1] stated [the then-Ukrainian Prosecutor
             General] had already been fired, and no investigation was
20           currently going on, and that nobody would find out about his
             financial dealings with the [Public Official 1 and
21           Businessperson 1]. CHS then stated, “I hope you have some
             back-up (proof) for your words (namely, that [Burisma
22           Official 1] was ‘forced’ to pay [Public Official 1 and
             Businessperson 1]). [Burisma Official 1] replied he has many
23
             text messages and “recordings” that show that he was coerced
24           to make such payments (See below, subsequent CHS reporting
             on 6/29/2020). CHS told [Burisma Official 1] he should make
25           certain that he should retain those recordings. [Burisma
             Official 1] asked whether it would make any (legal)
26           difference whether he voluntarily made such payments, or if
             he was “forced” to make them.
27

28           [Burisma Official 1] then asked CHS whether CHS could provide
             any assistance in Ukraine (with the [] regime) if something
                                          25
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 1        were to happen to [Burisma Official 1] in the future. CHS
          replied that CHS didn't want to get involved in any such
 2        matters.
 3
          [Note: See previous CHS report dated 3/1/2017 Serial 7,
 4        wherein CHS reported the foregoing, and stated the call took
          place during the week of 2/27/2017. At that time, CHS stated
 5        that [Burisma Official 1] briefly discussed [Businessperson
          1], but the topic was not relevant to Burisma's interest in
 6        acquiring a US-based petroleum business for $50-$100 million.
          At this time CHS also reported aforementioned [Burisma
 7        Official 2] (alternate transliteration [Burisma Official 2])
 8        was assigned by Burisma to manage the acquisition, and he
          was planning to travel to Washington, D.C. in March, 2017.
 9
          2019 Telephone call. After the aforementioned 2016 telephone
10        call, CHS had no Interactions with [Burisma Official
          1]/Burisma whatsoever, until 2019. In 2019, CHS met with
11        [Associate 1] in London to discuss various business matters
12        (which had nothing to do with [Burisma Official 1], Burisma,
          or the gas/oil industry; CHS noted that CHS's meeting with
13        [Associate 1] took place at a “Russian coffee house near
          Knightsbridge Street located near Harrods department store,”
14        and that [Associate 1]'s fiancée lives in London). At some
          point during this meeting, [Associate 1] advised CHS he was
15        going to call [Burisma Official 1]. At this time, CHS
          understood [Burisma Official 1] was living somewhere in
16
          Europe (NFI). During the call, [Burisma Official 1] asked
17        CHS and/or [Associate 1] if they read the recent news reports
          about the investigations into [Public Official 1 and
18        Businessperson 1] and Burisma, and [Burisma Official 1]
          jokingly asked CHS if CHS was an ”oracle” (due to CHS's prior
19        advice that [Burisma Official 1] should not pay [Public
          Official 1 and Businessperson 1] and instead to hire an
20
          attorney to litigate the allegations concerning [the then-
21        Ukrainian   Prosecutor    General]'s   investigation).    CHS
          mentioned [Burisma Official 1] might have difficulty
22        explaining suspicious wire transfers that may evidence any
          (illicit) payments to [Public Official 1 and Businessperson
23        1]. [Burisma Official 1] responded he did not send any funds
          directly to the “Big Guy” (which CHS understood was a
24        reference to [Public Official 1]). CHS asked [Burisma
25        Official 1] how many companies/bank accounts [Burisma
          Official 1] controls; [Burisma Official 1] responded it would
26        take them (investigators) 10 years to find the records (i.e.
          illicit payments to [Public Official 1]). CHS told [Burisma
27        Official 1] if he ever needed help in the future and wanted
          to speak to somebody in the US government about that matter,
28        that CHS could introduce him to someone.
                                           26
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 1
          Regarding the seemingly open and unsolicited admissions by
 2        [Burisma Official 2] and [Burisma Official 1] about the
          purpose for their retention of [Businessperson 1], and the
 3
          “forced” payments [Burisma Official 1] made to [Public
 4        Official 1 and Businessperson 1], CHS explained it is very
          common for business men in post-Soviet countries to brag or
 5        show-off. Additionally, it is extremely common for businesses
          in Russia and Ukraine to make “bribe” payments to various
 6        government officials. CHS noted that in corporate budgets
          for other Russian and Ukrainian businesses which CHS has
 7        inspected in the past, CHS observed budget-line-items in
 8        Russian called “Podmazat” (transliterated by CHS), which
          literally translates to “oil, lubricate, or make things run
 9        smoothly,” which companies routinely use to account for
          anticipated bribe payments. As such, given the pervasive
10        necessity to bribe government officials in Ukraine and
          Russia, CHS did not perceive [Burisma Official 2]'s or
11        [Burisma Official 1]'s statements to be unusual, self-
12        serving, or pretextual. Additionally, regarding important
          business meetings, it is also common in Ukraine and Russia
13        for persons to make covert recordings. However, CHS has only
          met [Burisma Official 1] in person on one occasion and has
14        spoken to him only twice on the telephone; as such, CHS is
          not able to provide any further opinion as to the veracity
15        of [Burisma Official 1]'s aforementioned statements.
16
     (emphases added).
17
          36.   Associate 1 never spoke to Burisma Official 1 on the phone,
18
     or in person.     Therefore, the Defendant’s claim that Associate 1 called
19
     Burisma Official 1 in 2019 is false for that reason as well.
20
          37.   Moreover, at no point when the Defendant was messaging the
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     Handler in May 2020 about Public Official 1 did he mention that he had
22
     had two purported meetings when Public Official 1 was in office in the
23
     United   States    where   Burisma   executives   told   him   that   they    paid
24
     Businessperson 1 to “protect us, through his dad, from all kinds of
25
     problems,” and later that they had specifically paid $5 million each
26
     to Public Official 1 and Businessperson 1 so that “[Businessperson 1]
27
     will take care of all those issues through his dad,” referring to a
28
                                            27
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 1   criminal investigation being conducted by the then-Ukrainian Prosecutor

 2   General into Burisma, and to “deal with” the then-Ukrainian Prosecutor

 3   General.      Nor did he tell the Handler he had two subsequent phone calls

 4   where Burisma Official 1 told him that he had been forced to pay Public

 5   Official 1 and Businessperson 1 and that it would take investigators

 6   10 years to find records of illicit payments to Public Official 1.

 7   This was despite the Defendant’s stated interest in proving to the

 8   Handler that the bribe had occurred and his offer to go to Ukraine to

 9   “meet     with    the   guys”   to   obtain   incriminating    recordings     of

10   Businessperson 1 telling Burisma officials that his father would “take

11   care” of the then-Ukrainian Prosecutor General.

12           38.   On June 29, 2020, the Defendant provided further supplemental

13   information to the Handler concerning his allegations.              These were

14   memorialized in the 2020 1023 before it was finalized and consisted of

15   the following:

16           Regarding CHS's aforementioned reporting that [Burisma
             Official 1] said – “he has many text messages and
17           ‘recordings’ that show he was coerced to make such payments
             ‘ - CHS clarified [Burisma Official 1] said he had a total
18
             of “17 recordings” involving [Public Official 1 and
19           Businessperson 1]; two of the recordings included [Public
             Official 1], and the remaining 15 recordings only included
20           [Businessperson 1]. CHS reiterated that, per [Burisma
             Official 1], these recordings evidence [Burisma Official 1]
21           was somehow coerced into paying [Public Official 1 and
             Businessperson 1] to ensure [the then-Ukraine Prosecutor
22           General] was fired. [Burisma Official 1] stated he has two
23           “documents (which CHS understood to be wire transfer
             statements, bank records, etc.), that evidence some
24           payment(s) to [Public Official 1 and Businessperson 1] were
             made, presumably in exchange for [the then-Ukrainian
25           Prosecutor General]'s firing.
26           Regarding aforementioned [Associate 1] (alternate spelling,
27           [Associate 1]), who originally introduced CHS into this
             matter, [Associate 1] currently "works in some office for
28           the administration of [] (NFI)", and also works for [], who

                                            28
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 1        is the founder/CEO of           cryptocurrency     and    blockchain
          technology business [].
 2
     (emphasis added)
 3

 4        39.     After the Defendant made these reports, the FBI asked

 5   him for travel records, which he provided, in an attempt to

 6   determine whether the information he provided was accurate.
 7        40.     By August 2020, FBI Pittsburgh concluded that all reasonable
 8   steps had been completed regarding the Defendant’s allegations and that
 9   their assessment, 58A-PG-3250958, should be closed.             On August 12,
10   2020, FBI Pittsburgh was informed that the then-FBI Deputy Director
11   and then-Principal Associate Deputy Attorney General of the United
12   States concurred that it should be closed.
13     F. The Defendant was interviewed by FBI investigators in September
14        2023, and repeated some of his false claims, changed his story as
15        to other of his claims, and promoted a new false narrative after
16        meeting with Russian officials.
17        41.     In July 2023, the FBI requested that the U.S. Attorney’s
18   Office for the District of Delaware assist the FBI in an investigation
19   of allegations related to the 2020 1023.           At that time, the United
20   States Attorney’s Office for the District of Delaware was handling an
21   investigation and prosecution of Businessperson 1.
22        42.     On August 11, 2023, the Attorney General appointed David C.
23   Weiss, the United States Attorney for the District of Delaware, as
24   Special Counsel.     The Special Counsel was authorized to conduct the
25   investigation and prosecution of Businessperson 1, as well as “any
26   matters that arose from that investigation, may arise from the Special
27   Counsel’s investigation, or that are within the scope of 28 C.F.R. §
28   600.4(a).”
                                           29
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 1        43.    On August 29, 2023, FBI investigators spoke with the Handler

 2   in reference to the 2020 1023.         During that conversation, the Handler

 3   indicated that he and the Defendant had reviewed the 2020 1023 following

 4   its public release by members of Congress in July 2023, and the

 5   Defendant reaffirmed the accuracy of the statements contained in it.

 6        44.    The Handler provided investigators with messages he had with

 7   the Defendant, including the ones described above.                Additionally, the

 8   Handler identified and reviewed with the Defendant travel records

 9   associated with both Associate 2 and the Defendant.              The travel records

10   were inconsistent with what the Defendant had previously told the

11   Handler that was memorialized in the 2020 1023.                  The Defendant also

12   provided    email    communications    with    both   Associate     2   and   Burisma

13   personnel beginning in 2017 to the Handler, which the Handler reviewed

14   with the Defendant and shared with FBI investigators.

15        45.    The     Defendant   was   interviewed     by   FBI    investigators    on

16   September 27, 2023.       At the start of the interview, the Defendant was

17   warned of his duty to tell the truth pursuant 18 U.S.C. § 1001.

18        46.    The Defendant repeated his claim that his first meeting with

19   Burisma was much earlier than 2017.          He further told investigators that

20   the first meeting was arranged after Associate 1 called him and said

21   that a company wanted to enter the U.S. market either through an IPO

22   or an acquisition.        The Defendant repeated the claim that Burisma

23   Official 2 was at this meeting and possibly Burisma Official 4, based

24   on the Defendant’s recent review of his messages with the Handler that

25   included an image of Burisma Official 4’s business card, as described

26   above.     The Defendant told investigators that, during this meeting,

27   Burisma Official 2 said something to the effect of “Did you see my

28   Board, I’m not going to be fucked,” and that one member of the Board
                                             30
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 1   was the son of Public Official 1.          The Defendant told investigators

 2   that Burisma Official 2 said, “I am paying for familia,” which the

 3   Defendant said was a reference to family or a last name.          Later in the

 4   interview, the Defendant said he was 100 percent certain that Associate

 5   1 attended the first meeting.

 6         47.   The Defendant also told investigators that while he had

 7   initially recalled two Burisma meetings, after reviewing Associate 2’s

 8   travel records provided by the Handler, along with an email the

 9   Defendant found, the Defendant concluded that there were maybe two to

10   five meetings.      Later in the interview, the Defendant said he did

11   recall that Associate 2 was present for two meetings.

12         48.   The Defendant told investigators that he had a meeting with

13   Burisma Official 1 at a coffee shop in a German speaking country,

14   possibly Vienna as he had previously reported, after the 2016 election,

15   so in late 2016.    Then he told investigators he could not recall when

16   it occurred, and then, when shown the emails he had with Associate 1

17   as described above, stated he thought it was after those, which would

18   put it in 2017.     Notably, these new and inconsistent statements arose

19   only after the Defendant had reviewed messages, emails, and travel

20   information that were in direct conflict with what he reported in the

21   2020 1023.     The Defendant also told investigators that the meeting in

22   the   German   speaking   country,    possibly    Vienna,   occurred    because

23   Associate 1 told the Defendant that Burisma Official 1 wanted to meet,

24   and the Defendant agreed. Later in the interview, he told investigators

25   that this meeting occurred before the then-Ukrainian Prosecutor General

26   resigned, which was in early 2016.

27         49.   The Defendant told investigators he did not recall talking

28   to Burisma Official 1 ever again after the meeting in the German
                                           31
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 1   speaking country and did not have any phone calls with Burisma Official

 2   1 after this meeting.

 3           50.   The Defendant told investigators that he had asked the then-

 4   Ukrainian President to arrange a meeting between himself and the then-

 5   Ukrainian Prosecutor General to talk about Burisma.           The Defendant told

 6   investigators that this meeting occurred before the then-Ukrainian

 7   Prosecutor General resigned, which was early 2016.            The Defendant also

 8   told    investigators   this    meeting   occurred   before   his   meeting   with

 9   Burisma Official 1 in the coffee shop in a German speaking country.

10   The Defendant told investigators that after he met with the then-

11   Ukrainian Prosecutor General, he met with the then-Ukrainian President.

12   The Defendant did not provide any of this information to the Handler

13   in 2020.

14           51.   The Defendant also shared a new story with investigators.         He

15   wanted them to look into whether Businessperson 1 was recorded in a

16   hotel    in   Kiev   called    the   Premier   Palace.    The   Defendant     told

17   investigators that the entire Premier Palace Hotel is “wired” and under

18   the control of the Russians.         The Defendant claimed that Businessperson

19   1 went to the hotel many times and that he had seen video footage of

20   Businessperson 1 entering the Premier Palace Hotel.

21           52.   The Defendant suggested that investigators check to see if

22   Businessperson 1 made telephone calls from the Premier Palace Hotel

23   since those calls would have been recorded by the Russians.                    The

24   Defendant claimed to have obtained this information a month earlier by

25   calling a high-level official in a foreign country.           The Defendant also

26   claimed to have learned this information from four different Russian

27   officials.

28
                                               32
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 1        53.   The Defendant told investigators that the four different

 2   Russian officials are all top officials and two are the heads of the

 3   entities they represent.      These Russians said that conversations with

 4   Ukrainians about ending the war will include the next U.S. election.

 5   The Defendant told investigators he is involved in negotiations over

 6   ending the war and had been for the previous four months.             According

 7   to the Defendant, the Russians want Ukraine to assist in influencing

 8   the U.S. election, and the Defendant thinks the tapes of Businessperson

 9   1 at the Premier Palace Hotel is all they have.            The Defendant told

10   investigators he wants them to ask Businessperson 1 how many times he

11   visited and what he did while at the Premier Palace Hotel.

12        54.   Businessperson 1 has never traveled to Ukraine.             The few

13   Burisma Board meetings that Businessperson 1 did attend were all

14   outside of Ukraine.

15        55.   At the conclusion of the interview, the Defendant was asked

16   if he wanted to clarify or correct anything he had stated during this

17   interview, and the Defendant said that he did not need to clarify or

18   correct anything he had stated.

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 1                                              COUNT ONE

 2           [18 U.S.C. § 1001: false statement to a government agent]

 3          56.   The Grand Jury re-alleges paragraphs 1 through 55 of this

 4   Indictment here.

 5          57.   That on or about June 26, 2020, the defendant ALEXANDER

 6   SMIRNOV,     did    willfully        and    knowingly      make       a    materially      false,

 7   fictitious, and fraudulent statement and representation in a matter

 8   within the jurisdiction of the executive branch of the Government of

 9   the   United      States,   to   a    special      agent   of     the      Federal   Bureau   of

10   Investigation at Los Angeles, California, in the Central District of

11   California, that is to say:

12                a.     The Defendant’s claims that “in late 2015/2016 during

13   the Obama/Biden Administration” he met with Burisma Official 2 and that

14   at    that   meeting   Burisma       Official      2   told     him       that   Burisma   hired

15   Businessperson 1 to “protect us, through his dad, from all kinds of

16   problems,” were false, as he knew.

17                b.     The Defendant’s claims that he met with Burisma Official

18   1 “one or two months later,” in Vienna, Austria, around the time

19   “[Public Official 1] made a public statement about [the then-Ukrainian

20   Prosecutor General] being corrupt, and that he should be fired/removed

21   from office,” which occurred on December 9, 2015, and that at that

22   meeting Burisma Official 1 admitted that he had paid Businessperson 1

23   $5 million and Public Official 1 $5 million so that “[Businessperson

24   1] will take care of all those issues through his dad,” referring to

25   the then-Ukrainian Prosecutor General’s investigation into Burisma,

26   and to “deal with” the then-Ukrainian Prosecutor General, were false,

27   as the Defendant knew.

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 1              c.    The Defendant’s claims that he had a telephone call with

 2   Burisma Official 1 in 2016 or 2017 wherein Burisma Official 1 stated

 3   he did not want to pay Public Official 1 and Businessperson 1 and he

 4   was “pushed to pay” them; that nobody would find out about his financial

 5   dealings with Public Official 1 and Businessperson 1; and that Burisma

 6   Official 1 had many text messages and “recordings” that show that he

 7   was coerced to make such payments, were false, as he knew.

 8              d.    The Defendant’s claims that in 2019 he was present when

 9   Associate 1 called Burisma Official 1 and Burisma Official 1 stated

10   that he did not send any funds directly to the “Big Guy” (which the

11   Defendant understood was a reference to Public Official 1) and that

12   Burisma Official 1 stated it would take them (investigators) 10 years

13   to find the records (i.e., illicit payments to Public Official 1), were

14   false, as he knew.

15        58.   The statements and representations were false because, as

16   ALEXANDER SMIRNOV then and there knew:

17              a.    The Defendant met with officials from Burisma for the

18   first time in 2017, after the end of the Obama-Biden Administration.

19   Thus, Public Official 1, then a private citizen, had no ability to

20   “protect” Burisma from “all kinds of problems.”            And, there was no

21   discussion of Public Official 1 or Businessperson 1 at this first

22   meeting with Burisma.

23              b.    The   Defendant’s   second   meeting   with   officials      from

24   Burisma also occurred in 2017, not at the end of 2015 when Public

25   Official 1 made public statements critical of the Ukrainian Prosecutor

26   General’s Office.       The second meeting also occurred after Public

27   Official 1 left office and after the then-Ukrainian Prosecutor General

28   had been fired in February 2016.        Like the first meeting, the second
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 1   meeting the Defendant had with officials from Burisma occurred at a

 2   time when Public Official 1 no longer had the ability to influence U.S.

 3   policy.    The Defendant also did not travel to Vienna, Austria in

 4   December 2015, as he claimed.       And, there was no discussion of Public

 5   Official 1 or Businessperson 1 at this second meeting.

 6              c.      As to phone calls with Burisma Official 1 in 2016 or

 7   2017 and then in 2019, in a subsequent interview with law enforcement

 8   in 2023, the Defendant told investigators he had never spoken to Burisma

 9   Official 1 on the phone after meeting with Burisma Official 1 in a

10   German speaking country in 2016, and that his last contact with Burisma

11   Official 1 was that meeting in early 2016.

12              d.      Further, Associate 1 never spoke to Burisma Official 1

13   on   the   phone    or   in   person,   in   2019   or   at   any   other   time.

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15        In violation of Title 18, United States Code, Section 1001.

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 1                                     COUNT TWO

 2   [18 U.S.C. § 1519: falsification of records in federal investigation]

 3        1.    The Grand Jury re-alleges paragraphs 1 through 55 of this

 4   Indictment here.

 5        2.    Between on or about June 26 and 30, 2020, in the Central

 6   District of California, the defendant, ALEXANDER SMIRNOV, did knowingly

 7   cause the making of a false entry in an FBI Form 1023, a record and

 8   document, with the intent to impede, obstruct, and influence a matter

 9   that the Defendant knew and contemplated was within the jurisdiction

10   of the United States Department of Justice, a department and agency of

11   the United States, in violation of Title 18, United States Code, Section

12   1519, and Title 18, United States Code, Section 2.

13

14                                                 A TRUE BILL
15
                                                                 /S/
16                                                 Foreperson
17

18   DAVID C. WEISS
     Special Counsel
19

20

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27

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